          Case 5:21-cv-00326-F Document 1-2 Filed 04/12/21 Page 1 of 4




                    IN THE DISTRICT c·ouRT OF OKLAHO~TiIST
                                STATE OF OKLAHOMA  OKLAHOMAR.ICT COURT
                                                                                   COVNTy
DEREK and JENNIFER ROUSE, individually, )
and as parents of N        R        ,        )
W       R       , and J    R        , minors,)
                                             )
                        Plaintiffs,          )
                                                    )
vs.                                                 )       Case No.
                                                    )
BBC AF MANAGEMENT/DEVELOPMENT,                      )
LLC., a foreign limited liability corporation,      )
                                                    )
                               Defendant.           )

                                            PETITION

         Plaintiffs, Derek and Jennifer Rouse, individually, and as parents of N       R      ,

W        R       and J       R      , minors, for their Petition against Defendant, BBC AF

Management/Development, LLC (hereinafter "BBC") state:

      1. Derek Rouse is active duty military and at all relevant times was stationed at Tinker

         Air Force base in Oklahoma City, Oklahoma. Jennifer Rouse is Plaintiffs wife , and

         N        ,W      and J       R       are their children.

      2. BBC is a Delaware corporation, which manages privatized military housing on

         Tinker Air Force base, including the housing that Plaintiffs rent/rented.

      3. From approximately 2015 to January 15, 2020, Plaintiffs lived on base in privatized

         military housing which was managed by Defendant.

      4. Plaintiffs home was located at 7137A Mu_ndell Street. Plaintiffs also briefly lived in

         other temporary homes on Tinker Air Force Base, at the insistence and direction

         of Defendant, and the allegations below also apply to said temporary homes.

      5. The Plaintiffs signed a lease whereby Defendant served as the maintenance

         company for the residence. In other words, Defendant was Plaintiffs' landlord.




                                                                                              Exhibit "2"
    Case 5:21-cv-00326-F Document 1-2 Filed 04/12/21 Page 2 of 4




6. Plaintiffs' residence was uninhabitable and unsafe, due to water leaks, _mold and

   other various poor and/or dangerous and/or filthy conditions. ·

7. Plaintiffs requested I complained / asked Defendant at various times to repair or

   remediate or abate leaks and/or mold and/or other hazardous living conditions,

   and Defendant either did not respond or did not respond effectively.

8. Defendant owed a duty to the Plaintiffs and breached that duty, thus proximately

   causing the damages set forth herein.

9. Defendant knew or should have known that its failure to properly repair or abate

   water leaks would lead to mold growth in Plaintiffs home, and such would cause .

  · damage to the Plaintiffs' personal property and cause adverse physical and mental

   health effects.

10. Defendant knew or should have known that its failure to properly remove,

   remediate and/or abate mold growth in Plaintiffs home, and such would cause

   damage to the Plaintiffs' personal property and cause adverse physical and mental

   health effects.

11. Defendant is negligent per se under 41 0 .S. Section 118 for failing to make all

  · repairs and do whatever necessary to keep the Plaif!tiffs residence in a fit and

   habitable condition and for failing to maintain in good and safe working order all

   plumbing, heating, ventilating and air conditioning appliances and facilities, and for

   failing to repair, remove, abate arid/or remediate water leaks and mold.

12. Defendant's failure to repair. remove. abate and/or remediate water leaks and

   mold constitute a private nuisance that annoyed, injured, or endangered 'the

   comfort, repose, health and/or safety of Plaintiffs.




                                                                                        Exhibit "2"
     Case 5:21-cv-00326-F Document 1-2 Filed 04/12/21 Page 3 of 4




· 13. Defendant fraudulently misrepresented to Plaintiffs the existence of water leaks

    and mold .in Plaintiffs' residence, and knowingly and intentionally. withheld

    information regarding ongoing maintenance issues, and failed to disclose the true

    condition      of   Plaintiffs'    residence, · and   Plaintiffs   relied   on   Defendant's

    representation that the home was safe. As a direct result of this reliance, Plaintiffs

    sustained personal and property damages and injuries.

 14. Defendant had a contract(s) with Plaintiffs (or with other parties by which Plaintiffs

    were· third party beneficiaries) to maintain Plaintiffs' home in fit and habitable and ·

    safe conditions. By failing to disclose known hazards with the home, by failing to . ·

    repair, remediate, eliminate, abate known water leaks and/or known mold and/or ·

    other known hazards to health and property, Defendant's breached this contract(s)

    and Plaintiffs thereby suffered damages to property and physical and ,emotional

    injuries and trauma.

 15. Plaintiffs sustained loss and damage to personal properties, and ·Defendant is

    liable for the cost of repairs to these properties and/or fair market value.         ·

 16. Plaintiff Jennifer Rouse sustained and experienced health issues as a result of

    living in the subject residence, and may currently and in the future experience

    health issues as a result of living in the subject_ residence, and seeks to hold

    Defendant responsible for these health issues.

 17. Plaintiff N          R           sustained and experienced health issues as a result of

    living in the subject residence, and may currently and in the future experience

    health issues as a result of living in the subject residence, and seeks to hold

    Defendant responsible for these health issues.




                                                                                               Exhibit "2"
        Case 5:21-cv-00326-F Document 1-2 Filed 04/12/21 Page 4 of 4




   18. Plaintiff W    R      sustained and experienced health issues as a result of living

       in the subject residence, and may currently and in the .future experience health

       issues as a result of living in the subject residence, and seeks to hold Defendant .·

       responsible for these health issues.

 ·. 19. Plaintiff J   R      sustained and experienced health issues as _a result of living

       in the subject residence, and may currently and in the future experience health

       issues as a result of living in the subject residence, and seeks to hold Defendant

       responsible for these health issues.

   20. Plaintiff Derek Rouse sustained and experienced health issues as a result of living

       in the subject residence, and may currently and in the future experience health

       issues as a result of living in the subject residence, and seeks to hold Defendant

       responsible for these health issues.

       WHEREFORE, Plaintiff prays for judgment against the Defendant in excess of

Seventy-Five Thousand and no/100 Dollars ($75,000.00), the amount required for

diversity jurisdiction pursuant to Section 1332 of Title 28 of the United States Code, costs

of this action, attorney fees and for such other and further relief as the Court deems just .

and proper.

                                                 BRYAN GARRETT
                                                 119 North Robinson, Ste. 650
                                                 Oklahoma City, Oklahoma 73102




                                          By:
                                                 BRYAN G. GARRETT, OBA#17866
                                                 bryan@bgarrettlaw.com

                                                 ATTORNEY FOR PLAINTIFF
ATTORNEY LIEN CLAIMED




                                                                                           Exhibit "2"
